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                                                                March 2, 2017
Via ECF
Honorable Dora Irizarry
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                Re: Valdez et al v. Fresh Meadows Wings, LLC et al
                    1:16-cv-05645-DLI-PK

Dear Judge Irizarry,

      We represent the Plaintiffs in the above-referenced matter.       We write in response to
Defendants’ letter dated December 7, 2017 in which they request a pre-motion conference with
respect to Defendants’ anticipated Motion to Compel Arbitration and Stay Litigation.

      Preliminarily, we apologize to Your Honor and counsel for Defendants for not having
responded before today. The undersigned was managing this identical issue with another case, during
this overlapping time frame, and had thought we had responded. It was not until this morning in
preparing for the conference, that it became clear that a response had not been effectuated. We
respectfully ask for both the Court and defense counsel’s indulgence in accepting our response and
again apologize for the inconvenience. It is neither the undersigned nor this firm’s practice to leave
anything without a response, it is an error not likely to occur a second time.

      Plaintiffs agree to arbitrate this matter. We are prepared to enter into a stipulation regarding
same. Included in the stipulation, Plaintiff requests that the Court maintain subject matter jurisdiction
pending the arbitration and that Defendants pay for the entirety of the cost of arbitration, without
penalty to Plaintiffs if the matter is unsuccessful.

        It is Plaintiffs position that once the case has been filed with the federal claims, the federal
court has subject matter jurisdiction. The federal court’s subject matter jurisdiction over federal
claims is not terminated with a mandatory arbitration clause.

       A motion to dismiss under FRCP 12(b)(1) on the basis of lack of subject matter jurisdiction
would fail because even if the arbitration clause ultimately governs this dispute, the Court still has
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subject matter jurisdiction over the claims. The SDNY has held that “[n]either Pyett1 nor, to the
Court's knowledge, any subsequent case in this Circuit has held that mandatory arbitration clauses
of the type at issue here deprive courts of subject matter jurisdiction of claims sounding in federal
law.” Acevedo v. Tishman Speyer Props. L.P., 2013 U.S. Dist. LEXIS 42676 (S.D.N.Y. March
26, 2013) (citing Brown v. Services for the Underserved, 2012 U.S. Dist. LEXIS 106207
(E.D.N.Y. July 31, 2012) (construing Rule 12(b)(1) motion brought on the basis of mandatory
arbitration clause as a motion to compel arbitration)).

        As to the issue of payment of arbitration fees, given the low cost to access the federal court
system, any agreement to arbitrate would need to be comparable for Plaintiff, otherwise further
pursuit of their rights would cost prohibitive. Moreover, while it is understood that attorneys’ fees
to the prevailing party are available under all the statutes under which Plaintiffs’ seek relief, under
the judicial process via the courts, Plaintiff, even if unsuccessful would not be burdened with the
costs that arise when using an arbitrator at several hundred dollars an hour.

         In light of this, Plaintiff respectfully requests that the pre-motion conference be limited to
the discussion of whether this Court will maintain subject matter jurisdiction over the matter and
that all arbitration fees will be covered by Defendants without penalty to Plaintiffs if the matter is
unsuccessful.

        Thank you for your consideration.

                                                                   Respectfully submitted,


                                                                   ____________/s/_________
                                                                   Marjorie Mesidor (MM9936)


cc:     Edward Lynch (via ECF)




1
 14 Penn Plaza LLC v. Pyett, 556 U.S. 247, 129 S. Ct. 1456, 173 L. Ed. 2d 398 (2009) This case cited by the
defendants in Acevedo v. Tishman Speyer Props. L.P., 2013 U.S. Dist. LEXIS 42676 (S.D.N.Y. March 26, 2013).
